                IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                              18-CV-489

UNITED STATES OF AMERICA, ex rel.,                  )
STATE OF ALASKA, ex rel.,                           )
STATE OF CALIFORNIA, ex rel.,                       )
STATE OF COLORADO, ex rel.,                         )
STATE OF CONNECTICUT, ex rel.,                      )
STATE OF DELAWARE, ex rel.,                         )
DISTRICT OF COLUMBIA, ex rel.,                      )
STATE OF FLORIDA                                   )
STATE OF GEORGIA, ex rel.,                         )
STATE OF HAWAU, ex rel.,                           )
STATE OF ILLINOIS, ex rel.,                        )
STATE OF INDIANA, ex rel.,                         )
STATE OF IOWA, ex rel.,                            )
STATE OF LOUISIANA, ex rel.,                       )
STATE OF MARYLAND, ex rel.,                        )
COMMONWEAL TH OF MASSACHUSETTS, ex rel.,           )
STATE OF MICHIGAN, ex rel.,                        )
STATE OF MINNESOTA, ex rel.,                       )
STATE OF MONTANA, ex rel.,                         )
STATE OF NEVADA, ex rel.,                          )
STATE OF NEW JERSEY, ex rel.,                      )
STATE OF NEW MEXICO, ex rel.,                      )
STATE OF NEW YORI(, ex rel.,                       )
STATE OF NORTH CAROLINA, ex rel.,                  )
STATE OF OKLAHOMA, ex rel.,                        )
STATE OF RHODE ISLAND, ex rel.,                    )
STATE OF TENNESSEE, ex rel.,                       )
STATE OF TEXAS, ex rel.,                           )
STATE OF VERMONT ex rel.,                          )
COMMONWEALTH OF VIRGINIA, ex rel., and             )
STATE OF WASHINGTON, ex rel.,                      )
CITY OF PHILADELPHIA, PENNSYLVANIA ex rel.,        )
COUNTY OF ALLEGHENY, PENNSYLVANIA                  )
                                                   )
By RICHARD HUFF                                    )
                      Plaintiff-Relator,           )




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                                   V.                           )
                                                                )
COMFORTLAND MEDICAL, INC.                                       )
COMFORTLAND MEDICAL, LLC                                        )
DR. DAYID TSUI                                                  )
LOIS TSUI,                                                      )
                  Defendants.                                   )
                                                                )


    SEALED ORDER GRANTING THE JOINT EX PARTE APPLICATION
 OF THE UNITED STATES AND THE STATE OF NORTH CAROLINA
         FOR AN EXTENSION OF TIME TO DECLINE OR
         INTERVENE AND FOR AN EXTENSION OF THE SEAL

       Upon consideration of the application of the United States and the State of

North Carolina for an order granting an extension of time to decline or intervene and

for an extension of seal in this qui tam action, IT IS HEREBY ORDERED that the

motion, Doc. 3, is GRANTED and that:

       (1)    The Complaint and the entire court file shall remain sealed until and

including November 21, 2018 or until further Order of this Court, unless the United

States requests that the seal be lifted before that date; and

       (2) The United States and the State of North Carolina shall have until and

including November 21, 2018 to intervene in the above-captioned action or to notify

the Court that they, or either of them, decline to do so.

       This the 23rd day of August, 2018.


                                                 _______________________________
                                                 UNITED STATES DISTRICT JUDGE


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